Case 1:17-cr-00036-GNS Document 40 Filed 03/21/19 Page 1 of 11 PageID #: 335



                                                                       1:
                                                                                                        j   i
  February 9, 2019
                                                                       2D19 r;   F"""l.

                                                                                 (~1
                                                                                          l    -

                                                                                              i'../f1'•,r.~·
                                                                                              r,, I  1  ., ,.1   ,,




  Mr. Bobby Morris

  Hodgenville, KY 42748

  Honorable Judge and others,

  I, Bobby Morris, being of sound mind and body wish to let the court and Judge understand a few
  of the thoughts and feelings that I have had during this ordeal. Understand that it is very hard
  for me to relive this, but I will do the best that I can in controlling my emotions. That is why I
  have written this. Maybe I can stay focused and now my emotions take control.

      1. In 2010 I discovered that Shirley Childress, my parents tax preparer, had gotten power of
         attorney from my mother while Mom was on her death bed and I was close to death.
         She had changed Mom's will. She came to the house and brought papers for me to sign.
         She said, "welcome to my home" and then proceeded to try to get me to sign documents
         saying she was getting me disability. She was asked to leave, and I knew I needed an
         attorney.
      2. I recalled my Dad telling me if I ever needed an attorney to go to Greensburg and get
         Morris Butler or his son Danny. They were the best per Dad, and I was sure Dad knew.
      3. I called Danny's office and got an appointment to have him review the papers Shirley had
         left at house. He said that would not be a problem and we left the papers.
      4. Soon afterward, July 4, 2010 Mom passed, and I received a letter from Kim Quick,
         Shirley's lawyer, stating I was to vacate the premises. I again went to visit Danny and
         took this letter.
      5. He read the letter and said it would not be a problem. He could get all of it back, but he
         was not be cheap. He would need $20,000 up front money. Since I trusted him, I wrote
         a check anc_i left feeling good. He told me several times that day to not worry about
         anything, he would take care of getting everything returned to me. It would just take
         time.
      6. In August 2010 I returned to Danny's office to check on the situation. I was told he was
         working on it but would need $12,000 to pay for a private investigator. "Still don't
         worry," he said. "I am taking care of everything. You have no worries." I TRUSTED HIM
         AS HE WAS MY ATTORNEY.
      7. I couldn't help but worry and would return to his office often to check on the status. I
         was told each time it was looking good, but he was stilling working on it.
      8. October 6, 2011, he asked for another $3500 as he had used all the other money on the
         case. He assured me I would get the money back as well as the farm. I continued to
         trust.
      9. This kept on for many months. Danny knew I was very sick and had limited time to live,
          everyone thought. In the mean time I was living on my SS Disability, about $557 per
          month. Danny would ask for money from me many times, but I had no more to give him.
----- ----------------------~·-~•
    Case 1:17-cr-00036-GNS Document 40 Filed 03/21/19 Page 2 of 11 PageID #: 336




             10. Then I received a letter saying the Disability had been stopped and all the money had to
                 be returned. I again took this letter to Danny. He informed me to cash in the IRA of
                 $87,500 and write a check to go in his Escrow Account. He then could get my Disability
                 restored. AGAIN, I TRUSTED.
             11. I again complied and wrote the check January 20, 2012.
             12. Finally, after all the litigation, depositions, and mediation $350,000 and a life interest in
                 the farm was agreed to by all parties. Danny said this is how we should settle. I STILL
                 TRUSTED
             13. The check was delivered to Danny's office and was made to me. Danny said I should
                 endorse IT and put it in his escrow. He then could get my disability restored.
             14. He was going to give me money as needed from the escrow and at beginning he gave me
                 about $2000 every other month in cash. I would ask for more, but he said I shouldn't
                 take that much.
             15. There was no progress on Disability, but Danny would always ask me for cash to slip
                 under the table to help this man get my disability. He had someone working on it and
                 needed money to speed up the process. I had no money to give him.
             16. THEN THE NEWS! Danny Butler had been arrested! WHAT WAS I TO DO? I had trusted
                 with all my heart everything he told me I believed. He was my attorney, he had
                 credentials on his wall, he was recommended by my Dad. How could this happen to me?
                 How could an only child that had worked on the farm, taking care of Mom and Dad daily
                 get into this situation. But no matter how I got here, HERE I AM THIS DAY MARCH 4,
                 2019.



                 Danny, how could you brag about going on 4-week vacations and betting on the
                 Kentucky Derby to me, knowing that was my money? I could have payed my Doctor bills
                 with this money. You chose me because you knew I knew nothing about the legal system,
                 and I was in poor health. You hoped I would die soon and then the money was yours
                 since there was NO ESCROW ACCOUNT AND NO TRAIL.
                 How could you tell everyone I was your friend and then you do this to me? Is that how
                 you and your family treat friends? Sure, glad I don't have enemies WITH FRIENDS LIKE
                 YOU.
                 You know you chose to accept the $350,000 in cash settlement, because you could not
                 spend farmland. You didn't even try to get the farm returned to me. The part that still
                 hurts the most is you took my life savings of $87,500 AND my liquid cash of $40,000. My
                 Mom and Dad had over $1 million in cash and farm acreage of 200 acres. I, being a good
                 only child and son did for my parents what good, honest country folks do. Take care of
                 my parents and help them keep the farm going even after they are unable to work. Your
                 selfish motives have now caught you. I must pick up cans on the roadside every day now
                 to live, but at least I can walk on the roadside without shackles. That is more than you
                 are going to be able to say shortly, I hope. I pray to God every day to be with me and
                 keep the pain level low enough for me to sleep and be able to walk tomorrow. I pray
                 that my anti-depressant medication helps me keep my head up and not commit suicide.
Case 1:17-cr-00036-GNS Document 40 Filed 03/21/19 Page 3 of 11 PageID #: 337




       Friends come by daily and ask, "Did Danny get your money Bobby?" Feeling so stupid for
       falling victim to your shenanigans and trusting you as my attorney, I kept saying NO. But
       guess what Danny, I may not have your credentials, I may not have been on the Board of
       Regents at the college in this town, Western Kentucky University, and I may not have
       been a big Lawyer like you. But I have something that country folk have that you can only
       dream of, "INTEGRITY." I AM SURE YOU CAN'T EVEN SPELL THE WORD. That is one thing
       that us County Folks can spell and define. We have a heart. We are trusting. We know
       how to really help others and to live a good clean decent life.

       Now to close, in my mind I hope you never see the light of day again. I hope you never
       see the Kentucky Derby, the lights of Las Vegas, and the glamour of your gambling boats.
       I may have never been out of my community, but at least I have not taken advantage of
       rural, country people who thought that they could trust the attorney they hire when they
       see your credentials on the wall. But you even told me you were my friend and here you
       bragging about taking me. HOW COULD YOU DANNY. I am still praying to God every
       night that he gives me back my ability to trust again. Because of you I have suffered this
       mental aguish but also Physical pain and suffering. I would never wish on anyone the
       problems you have caused me. Your lies, deceit, theft, and general behavior have caused
       me more problems than I can ever describe to you. And just to think, I trusted you.

       Now to my heart, I hope while you rot away the remainder of your life in prison that you
       find God. Even though your actions have been unmerciful, I know you are still a child of
       God. I never have wished a person to go to HELL, but I must tell you, "You are as close as
       they come." So, Danny I hope this is goodbye forever on this earth. I hope they keep you
       behind bars the rest of your life and you do without like I have done, thanks to your
       actions. If we ever do meet again, I hope it is in heaven and I hope God has taken your
       heart and soul in prison and used it for his benefit. AND THAT IS A TRULY HARD THING
       FOR ME TO SAY AND MEAN IT. YOU HAVE TESTED THE MY ABILITY TO FORGIVE AND
       FORGET!
          Case 1:17-cr-00036-GNS Document 40 Filed 03/21/19 Page 4 of 11 PageID #: 338




                                                                     : J::J, ocl;fg,;4,,.d,(_Q_,,~1
                                                                                                      '-11.• ~ , 'ii--9<~ /<gr;
                                                                           '     '-           Q
                                                                      . 1)(!-'L;,e.,h _t ;:J,I 06- !Cf
         1)(/4), J:-/y__~/Jt_5=v 0..u_.~I -·           ..                             -  . J ···-
              -         ~ ~1   )')l_3rc!,,)L.~ 131~~!<-! -     ~1~(:i/)L{i\_   7)4! JHL <rr::e.,,,J:-
       - '--LL~     at tJtv L/u_./L,~f: --j-tli-J L~u,, tl1~1e,1d ':JdLCLJJ.~u {t&--~)
          ol\::t..~> 1d~J 1~ d tJ__/ &11 - ( : ~ ½'Lu/1nl-Le1J _.,;;; t> I <c- ,.,,.R Do 1-4 S 'I_
__ ___ ___ _c_~\· /U6cl:t±- 1L~u-n1/~~ l1 ~ C!___J_~ ·-: 0.0 t)_36_, _ __ _ _
               __ _ ";A'?- n-µ,/-/: ~'~l Lv ,id.              t/2!  'fY/£!--6hh.~ c;io_J"j _
          . 'rr\1,t.,,,1J _'-t{yd v.tMvt ~-,<.; ·fh/-1) \_://~Ju Lu--8-'J2.. hl LW
        - ~-[)\,-~(JD t~_ (L~icL:                        - - -~ -··          . '
      .... ' .• _ _ "'--\cM>1_AJ,,,tdt!l.L!y'/)'tf ~,y,J_,,_                       rr!J.,_ j'~-
- __ ___ 11•"-A Q~1.,_~ . IU!--t c:L"-'i, d.olec,s-t '+<-~,_c.e_1:,__j1_~
 . --- ·- -;_ j) UL~. ~l•)t,Q,,.i le:,_ C 'L(l,~LQ_ Q_ Cltt9:1f' Lj;0,•>l,/'):)u"! ~tj :-v.~L_L ~?~., ...
         __ . J,~~r2.J (J1).L,1J Lt.,,. ib ,~~c ,fu., ttuLt .Lt uw/4LLLT£Llc.!u,
          -l -           ~t_J_.'-'~-~'-:~-/ ~~flL~/IJf t 0 l9~cu.Ji;t\L. _lm± l@--;1 c(l.J,~ -~                              __ ..
Case 1:17-cr-00036-GNS Document 40 Filed 03/21/19 Page 5 of 11 PageID #: 339
Case 1:17-cr-00036-GNS Document 40 Filed 03/21/19 Page 6 of 11 PageID #: 340
Case 1:17-cr-00036-GNS Document 40 Filed 03/21/19 Page 7 of 11 PageID #: 341
,--------------------------------                                      ------



     Case 1:17-cr-00036-GNS Document 40 Filed 03/21/19 Page 8 of 11 PageID #: 342




           VICTIM IMPACT STATEMENT ANSWERS


     1.    The crime that Mr. Butler has committed has affected not only our family
     but hundreds of families in the surrounding counties. As all of the victims were
     looking for a professional to do a job, Mr. Butler took advantage of this profession
     using their age or lack of legal knowledge to gain control of the estates or
     settlements won. Our family has been dealing with this situation for over 11/2
     years thru the judicial system and 3 1/2 years over all since the passing of our
     loved one.

           In the beginning, we had to deal with the daily excuses from Mr. Butler
     concerning why the estate could not be closed for over a year.     Stating the
     estate was tied up with MEDICARE and they would not release the money.
     When confronted he stated "every lawyer sets estates up like this", in
     disagreement with him he then stated "that it was the way he set them up". (Can
     provide proof if needed)    Bogus court hearing dates were set by Butler in
     attempt to delay and redirect our attention.    Phone calls to Butler and many
     appointments were made at his office with limited results.     Since the STATE and
     FBI has moved forward with this case there are daily calls, letters, questions, court
     dates and meetings to attend.    In other instances we are having to answer
     phone calls and/or text messages during our daily working schedule and even
     having to take off work to attend hearings.    Endless hours, mileage and money
     has been spent on this case to prove Mr. Butler has committed this crime, not to
     mention the time of legal personnel's that have been involved.

           In dealing with the highs and lows of this case comes emotional distress,
     nerves, aggravation within the family, and loss of sleep, future financial
     uncertainty for the beneficiaries and for the generations to come.         Not to
     mention the lack of trust of any individual in a professional or unprofessional role.
Case 1:17-cr-00036-GNS Document 40 Filed 03/21/19 Page 9 of 11 PageID #: 343




2.    Yes, (Please see attached report.)    Also there are hard feelings between
the bothers.     Arguments, finger pointing, and even wanting to split everything
and go separate ways. Furthermore they are blaming each other for the results of
not having some sort of closer to their parent's estate because of the events that
have occurred.



3.    Every day we are impacted by what Mr. Butler has done to our family, we
are not the largest but the ones that got this investigation started.    Therefor
secrets are being kept in attempt to keep the family members safe, and feeling
that we have to watch our every move.       Due to news that has been released;
people are looking, talking and even acting different towards us.       Furthermore
some people aren't wanting to be around us because we as a family only have
one thing on our mind (which is not to have fun and make family memory's) but
simply to recover the estate money and to find closer to this crime so we can
move on with our lives.     This situation has consumed and required our undivided
attention.



4.    Because of who Mr. Butler is/was should not be taken to anyone's
advantage, (as it has played a role in the past).   Nor should it be of his attorney.
We are fully aware of what they are capable of doing.      AS THE MEMBERS OF THE
UNDERWOOD FAMILY WE ARE ASKING THE MAXIMUM SENTANCE BE SET FOR
THE DEFENDANT DANNY BUTLER.           BUT EVEN AT THAT, IT WILL NOT REPLACE
WHAT HE HAS STOLEN FROM OUR FAMILY AND KNOWINGLY CAUSED OUR
FAMILY TO ENDURE.        We put our faith in GODS hands that the correct ruling will
be handed down to Mr. Butler.      Please allow me to have a day in court to speak.



5.   MR. and MRS. Syndal Underwood (parents) worked all their lives to have
something to hand down to their children/grandson. Not to have it stolen and
gambled away, or using their money to take three week vacations in Las Vegas by
someone they thought they could trust as a lawyer to take care of their final
Case 1:17-cr-00036-GNS Document 40 Filed 03/21/19 Page 10 of 11 PageID #: 344




wishes.      Please don't let this crime go unpunished or allow notorious and
unjustified delays.     Mr. Butler has stolen, lied and abused his clients that paid
him to do a job.      As you will hear the facts are black and white surrounding this
case.     And I ask that you look at these facts as if it were happening to your
family.    I hope you would fight as hard as we are to see this to the end.         Be the
voice of our loved ones that has passed on so that they may be heard.
JUSTICE!!!



               ------------------------------------------ Me Ii nda Underwood ADM



               ----------------------------------,-------- Mark Underwood (son)



               ------------------------------------------ Mickey Underwood (son)
Case 1:17-cr-00036-GNS Document 40 Filed 03/21/19 Page 11 of 11 PageID #: 345




                                          Physical Impact Results




I, Melinda Underwood have been diagnosis with Meniere's in my right ear.         I started having symptoms
in September 2017.     With Meniere's, STRESS may trigger attacks or make them worse.             Side effects
include dizziness, headaches, stomach upset, tensed muscles, continuous roaring sound, and hearing
loss.   Countless doctor visits, two ear procedures where steroids were injected into my inner ear, and a
MRI have been performed.       Medicine to try to control the problem as best as possible include the
following:   Meclizine - taken for dizziness

             If more information is needed, please let me know




                                         ------------------------------------- Melinda Underwood ADM
